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                                UNITED STATES DISTRICT COURT
                                EASTERN DiSTzuCT OF MISSOURI
                                      EASTERN DIVISION

    IJNITED STATES OF AMERICA,                          )
                                                        )
        Plaintifl                                       )
                                                        )
                                                        )   No. S2-4:l9CR002l 1 Rl-W
                                                        )
    MAURICELEE, aAda"Ml,"                               )
                                                        )
        Defendant.                                      )

                                       GUILTY PLtrA AGREEMENT


          Come now the parties aad lrereby agree, as follows:

          I. PARTIES:
          The parties are the defendant Maurice Lee, represented by defense counsel N, Scott

   Rosenblum and Greg WiHner, and the United States of America (hereinaffer "United States" or

   "Govemment"), represented by the Office of the United States Attomey for the Eastern District

   ofMissouri. This agreement does not, and is not intended to, bind any governmental office or

   agency other than the United States Attomey for the Eastem District of Missouri. The Court is

  neither a party to nor bound by this agreement.

          2. GUILTYPLEA:
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          Pwsuant to Rule ll(c)(l)(A), Federal Rules of Criminal Procedure, in exchange forthe         I

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  defendant's voluntary waiver of indictment and plea ofguilty to a four-count Inforfiation, the       I




  government agrees that no further federal prosecution will be brought in this District relative to

  the defendant's participation in a drug conspiracy; conspiracy to possess, brandish and discharge

  firearms in furlherance of that drug conspitacy; and discharge of flreams in fiirtherance of that

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    drug conspiracy whete death resulted, which specifically occurred on or about May 8, 2017 and

    June 30, 2017 of whioh the United States is aware at this time,

           In addition, the pa(ies agree that lhe U.S. Sentencing Guidelines Totat Offenso Level

   analysis agreed to by the parties herein is the result of negotiation and led, in part, to the guilty

   plea. The parties further agree to make ajoint sentencing recommendation of240 months

   imprisonment and that all counts run concurrent to each other.

           3. ELEMENTS:

          As to the offense in Count Onc of the Information, the Defendant admits to knowingly

   violating Title 21, United States Code, Sections 841(a)(l) and 846, and admits there is a factual

   basis for the plea and further fully understands that the elements ofthe crime are as folloua:

           (i) Two or more people reached an agreement to comrnit the crime ofdistributing and
   possessing with intent to distribute fontanyl;

          (2) The Defendant voluntarily and ialentionally joined in the agreement;

          (3) At the time the Defendant joined in the agreement, the Defendant knew the purpose of

   the agreement; and

          (4) The amount of fentanyl involved in the conspiracy attributable to the defendant, as a

   result of his own conduct and the conduct ofothers reasonably foreseeable to the defendant was

   400 grams or more.

          As to Count Two, the Defendant admits to knowingly violating Title 21, United States

  Code, Sections 84l(a)(l) and 846, and admits there is a factual basis for the plea and further

  firlly understands that the elemonts of the crime are as follows:




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           (1) Two or more people reached an agreement to commit the crime ofdistributing and

   possossing with intent to diskibute methamphetamine;

           (2) The Defendant voluntarily and intentionally joined in tho agreement;

           (3) At the time the Defendant joined in the agreement, the Defendant knew the purpose of

   flre agreement; and

           (4) The amount ofactual methamphetamine involved in the conspiracy atlributable to the

   defendant, as a result ofhis own conduct and the conduct of others reasonably foreseeable to the

   defendant was 50 grams or more.

          As to Counts Three and f,'ouri the Defendant admits to knowingly violating Title 18,

   United States Code, Section 924(o) and admits there is a factual basis for the plea and further

   fully understands that the elements ofthe crime are as follows:

          (1) On or benreen May 8, 2017 and June 30,2017, two or more people reached an

  agreement to cornmit the crime of possession of a firearm in furtherance of drug tra{Iicking:

          (2) The defendant voluntarily and intentionally joined in the agreement;

          (3) At the time the defendantjoined in the agreement, the defendant knew the purpose of

  the agreement; and

          (4) While tho agreernent was in effect, a person or person who hadjoined in the

  agreement knowingly did one or morc acts for the purpose of carrying out or carrying fonvard

  the agreement.

          4.   ACTS

         The parties agree that the facts in this case are as follows and that the govemrnent would

  prove these facts beyond a reasonable doubt if tt)e case were to go to trial. These facts may be



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    considered as relevant conduct pursuant to Seclion 181.3:

                        The Conspiracy to Distribute Narcotics and Possess Weapons

           Beginning at a date unknown but at least approxinrately 2017, Maurice Lee, a/lcla "M1"

    (hereafter "Lee" or "defendant"), Darryl Moore, a,/lcla "Lil Darryl" (hereafter "Moore') and

   others both known and unknown began to distribute large quantities of fentanyl and "Ice"

   (crystal methamphetamine) in the Eastern District of Missouri, Moore's source of supply was

   Juan Jose Gonzalez, a.lda"Poncho" (hereafter "Gonzalez"), whom Moore met in Arizona.

   Defendant Jermaine Weaver, alcla "Twin" would assist Moore with transportation and fiuancing.

   Moore would in tum supply Lee with bulk quanlities of fentanyl and Ice. Lee would then have

   the raw fentanyl "whipped up" by stretching flre raw fentanyl with a cutting agent (mainly

   Dormin). Grinders and blender were used to mix the fentanyl and Dormin, which was then

   scraped into empty capsules sitting in a pill press or tray. Scales were used to weigh the drugs.

   The capsules wotrld thsn be placed in plastic bags. The Ice was sold in bulk quantities, primarily

   to one customer, who in tum would redistribute the Ice.

           At the height ofthe conspiracy, Lee utitized a minimum ofnine oo-conspirators to

   distribute the fentanyl to customers. On average, the conspiracy would distribute over 20,000

   doses or capsules (comrnonly known as "beans') of fentanyl pel week. Distribution occuned            I




   tkough the use of "runners" - Cfuistopher Warlick, a/k/a "White Boy" (hereaffer "Warlick ),          I
                                                                                                        I

  Nonis Douglas, Jr., alcla "Slugga" (hereafter "Douglas"), Mikell Rayford, a/k/a "I(iller I(elz"       I

                                                                                                        {
  (hereafter "Raylord"), Sherod Tucker, aftla "Big Dog" (hereafter "Tucker"), Jerry Streeter, Jr.,

  allda"ITayd' (hereafter "Sheeter'), Jerome Fisher, a.{c/a "LB" (hereafter "Iisher"), Charles

  Guice, a/k/a "Chuck" (hereafter "Guice"), Maricus Futrell, afula "Rukus" (hereafter "Fuhell")



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    and Delvin Bost, a.4rla "Deezry" (hereafter "Bost"). The runners would get a supply of fentanyl

    capsules from either Lee, Ramico Adams, a/k/a "Chico ftereafter "Adams") or Jalisa Johnson

    (hereafter "Johnson"). Adams assisted Lee in keeping track of the anount ofcapsules distributed

   and tho amount of money due back to Lee. Johnson would supply or resupply runners wilh

   fentanyl and collect money at the end ofthe day. Tucker and/or Warlick were skilled at

   stretching the fertanyl for the drug trafticking organization (DTO), in order to increase profit.

           The rururers worked in groups and typically worked out ofone or two vehioles at a time.

   All of them were armed with semi-automatic weapons, both handguns and assault rifles. Some of

   the runners were also considered to be "muscle" for the DTO and were willing to use violence, in

   ortler to protect themselves, the drugs and the money. Violence was also used to intimidate rival

   gangs and drug distributors who were refered to by Lee and members ofhis DTO as "Goofies."

   Lee l<rowingly conspired wilh Warlick, Futrell, Streeter, Fisher, Rayford, Guiee, Douglas and

   others, both known and unknown, to possess firearms in fi:rtherance of his drug trafficking

   activities. It was common knowledge that a standing bounty existed for the killing of any Goofi,

   in an amount anywhere from $5,000 to $15,000,

                                Acts in furtherance of the Conspiracy

          On May 8, 20L7 ond or more co-conspirators were trying to confirm that a bounty was

   still behrg offered foi the death of A.N. Lee considered A.N. a "Goofu," After it was

  communicated that the bounty was still being offered, co-defendants Fisher, Guice, Tremayne

   Silas (hereafter' "Silas') and others unknown anned themselves and actively sought out A,N.,

  wlro was drag racing in the City of St. Louis. After locating A.N. and confirming the bounty,

  Fisher, Guice, Silas and others known and unlcnown drove in two vehicles to a location where



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   A,N. was driving with a passenger. After boxing in Noodel, the co-conspirators jumped out of

   their vehioles and opened fire on A.N.'s vehicle. More than 100 rounds of ammunition were

   fired, scattering shell casings over tho sheet. A.N. was slruck in the head with a bullet and

   collapsed. I{is passenger climbed over his body, retumed fire and managed to escape. He drove

   to a firehouse for assistauce. A,N. was then transported to a hospital where he was pronornced

   dead due to a gunshot wound to his head.

           Fisher and Guice disposed of their murder weapons after the killing of A.N. however

   Silas kept the automatic rifle he had used in the shooting. That rifle was eventually seized from

   Silas following a high-speed chase when Silas was anested by the St. Louis City Police in

   January, 2018. Ballistics confirmed that the weapon seized from Silas in January 2018 matched

   several shell casings found at the scene of A.N.'s murder. Silas later admited his involvement in

   the shooting death of A.N. and confirmed that Fisher and Guice were also present. An

   eyewitress to the murder identified Silas and Fisher as shooters. A forensio analysis ofFisher's

   cell phone, which was seized ftom him following his anest in March,2019, revealed text

   communications on the day of A.N.'s murder. These communications confirmed that Fisher and

  others were actively looking for A.N in the area of Branch and Ninth Street, in the City ofSt,

  Louis.
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           Fisher: "Wtw" (Wlat's the word)                                                             I



           Donnell: "We at candy bar"

           Fisher: "Alexz at da rallys"

           Domell; "Who seen wm"

           Dorurell: "Em"


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           Fishet: "Smh (shake my head) mnn we gone miss the nigga"

           Donnell: 'No we aint nigga"

          Fisher: "Den we already been on this lot 20 nrins"
                                                                                                     I




          Donnell: "They At the truck stop no#'

          Donnell: "Got my eyes on em"

          A forensic analysis ofSilas' phone confim:ed that on May 8, 2017 a group text, which

   included Leq Silas, Warlick, Fisher, Cuice and others, contained messages in which the co-

   conspirators dlscussed how Noodel had been spotted, describing his car, and discussing plans to

   find Noodel and do him hamr:

          From L.B. Blood @sher): "They down dur racoing at da truck stop"

          From I(J.: "In the Audi"

          From L.B. Blood (Fisher): "Yea"

          From K.J.: "Damn this a B the best time"

          From My Son (Warlick): "BOX"

          From I(.J.: "Donnie right next to em ina SS"

                                                                                                         I
          From My Son (WarliclQ: "We need to be in der with Donnie"                                      I




     '    From I(J.: "I swear to god we would of torch that mufuka"                                      I

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         From Silas: "Where mts at I'm liee outside n. on it"

         From Chuck (Guice): "4door Audi black"

         From L.B. Blood: "We already hip s7"

         From Chuck (Guice): "Crary he in sum hella fast"




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            On .Tune 30, 2017, I(.D. a,4cla "Red Dot" was shot and killed in the City of St, Louis. I(D.

   was found in the street suffering from multiple gunshot wounds. Approximat€ly twenty-five

   9mm shell casings were recovered at the scene, Wilnesses described seeing the suspect get out of

   a gold Buick, chase K.D. down the street, shoot him and after K.D. fell, witnesses told the police

   that the shooter fired additional rounds into the victim. Witnesses described the shooter as a tall,

   slender black male with dread locks, wearing a t-shirt. After the shooting, witnesses describ€d

   for police how the suspect got back in the gold Buick and drove off. One ofthe eyewitnesses to

   the murder later identified co-conspirator Michael Johnson, a/lc/a/ "Beezy" as the person who

   shot and killed I(.D. Michael Johnson's fingerprints were found on the gold Buick used in the

   murder, which was recovered on July 3, 2017. The vehicle had been reported stolen from Creve

   Coeur on June 20,2017.

            On the day K.D. was killed, co-conspirator Delvin Bost, a/k/a "Dee4y" called Maruice

  Lee, wanting to confirm tlut Lee's bounty was still being offered for the killing ofRed Dot, who

  was considered a "GooS." After Lee confimed the bounty, word spread via social media that

  K.D., a/k/a "Red Dot" had been killed. Bost met with Lee at a residence in lhs Northwind$

  Apartment complex in order to collect the bounty. Bost clained credit for the killing of Red Dot.

  Witnesses obseryed Lee count out the money to Bost, who in tum paid Michael Jolurson for the             l
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  murder.                                                                                                  I



            By this plea agreement, Defendant acloowledges and understands that victims A.N. and

  I(,D. were shot and died as a result of gunshot wounds and that the discharge of one or more
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  Iitearms by Defendant's associates were comnritted during the course and in firrtherance of the

  group's drug conspiracy.


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           The parties stipulate and agree that the aurount ofnarcotios distributed by Lee is not subject

    to precise calculatiou but for purposes of relevant conduct, the parties stipulate that Lee

    is responsible for at least 4 kilograms but less than 12 kilograms of fentanyl aild at least 500 but

    less than 1.5 kilograms ofactual methamphetamine.

                   5. STATUTORY PEFIALTIIS:

           The defendant fully understands that the rnaximum possible penalty provided by law for

   the crimes to which the defendant is pleading guilty is:

           Count 1l inrprisonment ofnot less than 10 years nor more than life, a fine ofnotmore

   than $10,000,000, or both such irnprisonment and fine. The Court shall also impose a period of

   supervised release ofnot less than 5 years.

           Count 2: imprisonment ofnot less than i0 years nor more than life, a {ine ofnot more

   than $10,000,000, or both suoh imprisonnent and fine. The Court shall also impose a period of

   supewised release of not less than 5 years,

           Counts 3 and 4: imprisonment of nol more than 20 years, a fine ofnot more than

   $250,000, or both such imprisorunent and fine. The Court may also impose a period of

   supervised release ofnot more than 3 years,

                  6. U.S. SENTENCING GUIDELINES: 2021 MANUAL:

          The defendant understands that this offense is affected by the U.S. Sentencing Guidelines

   and the actual sentencing range is detennined by both the Total Offense Level and the Criminal

   History Category. The parties agree that he following are the U.S. Sentencing Guidelines Total

   Offense Level provisions that apply.

          a. Chapter 2 Offense Conduct:


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                                                     Count One                                           !
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                  D     Offense Level: The parties agree that the base offense level is 34 as found in

    Section 2D1.1(c)(3), as the amount of fentanyl attributable to defendant was al least 4 kilograms

    but less than l2 kilograms.

              (2) Specific Offense Characteristics: None, pursuant to Section 2I(2.4, Application

    Note 4.

              b. Chapter 3 Adiustments: 3 levels are added as the defendaut was a man ager 0r

    supervisor and the criminal activity involved fiv€ or more participants, pursuant to Section

    381.1(b)

                                                     Count TWo

                 Base        se Level: The pa(ies agree that the base offense level is 34, as found in


    Section 2D l. I (c)(3), as the amount ofactual methamphetamine atlributable to defendant \yas at

    least 500 grams but less than L5 lcilograms.

             (2\ S oecifi c Offense Characteristics: None, pursuant to Section 2I(2.4, Application

   Note 4.

             b. Chanter 3 Adiustments: 3 levels are added as &e defendant was a manager or

   supervisor and the criminal activity involved five or more participants, prusuant to Section

   38i.1(b).

                                             Counts Three and Fo

           (1) Base Offense Level: The parties agree that the base offense level is found in Section

   2I(2.1 and depends on the nature ofthe firearm, the defendant's criminal history and other factors

   therein, including whether or not the use ofthe firearm resulted in death.
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            (2) Spacific Offense Characteristies: The parties agree that 4 levels should bs added

    pursuant to Section 2K2.2(b)(6)(B) because defendaflt conspired to possess or transfer a fircarm

    with knowledge, intent, or reason to believe that it would be used or possessed in connection

    with another felony offense, to-wit: dnrg traflicking and discharge ofa firearm in fir(herance of

    drug trafficl<ing where death results and the death being a murder as delined by Tille 18, United

    States Code, Section I l 11.

            Accordingly, application of the Sentencing Guidelines could include tlte application of

    Section 21(2.1(c)(1)(B) which provides that an offense involving first degree murder has a base

    offense level of43.

            (3) Chantcr 3 and 4 Adiustments: {1) Acceptance o f Itesnonsibility: As to Counts

    One and Two, flre parties agree that tluee levels should be deducted pursuant to Section 3E1.1(a)

    and (b), because the defendant has clearly demonstrated acceptance of responsibility and timely

    notified dre government of the defendant's intention to plead guilty. The parties agree that the

    defendands etigibility for this deduction is based upon information presently known.     If
    subsequent to the tal<ing of thc guilty plea the government receives new evidence ofstatements

    or conduct by the defendant which it believes are inconsistent with defendant's eligibility for this   I



    deduction, the govemment may present said evidence to the court, and argue that the defendant          1




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    should not receive all or part ofthe deduction pursuant to Section 3EI.l, without violating the
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   plea agreernent. Pursuant to Section 210.4(b) and Application Noto 5, Chapters Three and Four           i
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   do not apply as to Counts Three and Four, so as to Counts Three aud Four, Defendant is not              I


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   entitled to an Bcceptanoe of responsibility reduction under Section 3E1.1 .
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            (4) Dstirnated 'fotal Offense Level: The parties estirnate that the total offeuse level fol

    Counts One and Two is 34.

            d. Crirninal llistorvl The determination of the defendant's Criminal l{istory Category
    shalt be left to the Cou(. Either party may challenge, before and at sentencing, the finding ofthe

    Presentence Report as to the defendant's crirninal history and the applicable category. The

    defendant's criminal history is known to the dofendant and is substantially available in the

    Prelrial Services Report.

            e. Effect of Parties'U.S, Sentencine Guidelines Analysis: The parties agree that the

    Court is not bound by the Guidelines analysis agreed to herein, The parties may not have

    foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any

    Guideline despite the agreenrcnt herein and the parties shall not be permitted to withdraw from

    the plea agreement.

           7. WAIVER OF"APPEAL AND POST-CONVICTION RIGHTS:

           a. Appeal: The defendant has been fir lly apprised by defense counsel ofthe defendant's

   rights conceming appeal and fu[y understands the right to appeal the sentence under Title 18,

   United States Code, Section 3742.
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                   (1) I,lon-Sentencirc Issues: The parties waivo all rights to appeal all non             I




   jurisdiotional, non-sentencing issues, including, but not limited to, any issues relating to pretrial
                                                                                                           l

   motions, discovery and the guilty plea, tlre constitutionality ofthe statute(s) to which defendant

                                                                                                           i
   is pleading guilty and whether defendant's conduct falls within the scope of the statute(s).            I
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                   (2) Senterrcing Issucs: In the event the Court accepts the plea, accepts the U.S.

   Sentencing Guidelines Total Offense Level agreed to herein, and, after determining a Sentencing

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    Guidelines range, sentences the defendant consistent with the joint recommendation of 240

    months, concurrent ou all couuts, the defendant hereby waives all riglrts to appeal all sentencing

    issues other than Criminal History, but only if it affects the Base Offense Level or Criminal

    History Category, Similarly, the Government hereby rvaives all riglrts to appeal all sentencing

    issues other than Crinrinal History, provided the Court accepts the plea, the agreed Total Offense

    Level and sentonces the defendant consistent with thejoint recomrnendation of240 months,

    concunent on all counts.

                   b. I-Inhea s CorDus: The defendant agrees to waive all rights to contest the

    convlction or sentence in any post-conviction proceeding, including one pursuant to Title 28,

    United States Codg Section 2255, except for claims ofptosecutorial rnisconduct or ineffeclive

   assistance ofcounsel.

                  c. Right to Records: The defendanl waives all rights, whether asserted directly

   or by a representative, to request from any department or agency ofthe United States any rccords

   pertaining to the investigation or prosecution of this case, including any records that may be

   sought under the Freedom of Information Act, Title 5, United States Code, Section 522, or the

   Privacy Act, Title 5, United States Code, Section 552(a).

          8. OTHER:

                  a. Disclosures f{couired bv thc United States Probation Ofiice: Tlre

   defendant agrees to trutirftrlly complete and sign forms as required by the United States

   Probation Office prior to sentencing and consenls to the release ofthese forms and any

   supporting documentation by the United States Probation Office to the govemmenl.

                  b. Civil or Ad ministrativo Actions not Barred; Effect on Other
                  Governmental Agencies:

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             Nothing contained herein lin ts the rights and authority of the United Stales to tal(e any

     civil, tax, immigrationideportation or administrative action against the defendant.

                     c. Suoervised Release: Pursuant to any supewised release lemr, the Court will
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     impose standard conditions upon the defendant and may impose special conditions related to the

     crime defendant commifted, These conditions will be restrictions on the defendant to wlrich the
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     defendant will be required to adhere. Violation of the conditions ofsupervised release resulting

     in revocation may require the defendant to serve a term of imprisorurent equal to the lengtlt of
                                                                                                                  I
     the term of supervised release, but not greater than the term set forth in Title 18, United States

     Code, Section 3583(e)(3), without credit for the time served after release, The defendant

    understands that parole has been abolished,

                    d. Mandatory Snecial Asscssrnentr Pursuant to Title 18 , United States Code,

    Section 3013, the Coud is required to impose a mandatory special assessnrent of$100 per count

    for a total of $400, which the defendant agrees to pay at the time ofsentencing. Money paid by

    the defendant toward any restitution or fine imposed by the Court shall be first used to pay ary

    unpaid mandatory special assessment.

                    e, Possibilitv ofDetenfion: The defendant may be subject to imrnediate                            I



                                                                                                                      I
    detention pursuant to the provisions of Title 18, United States Code, Seetion 3 i43.

                         I] cs- R esti lrrli on and Costs    f fncarceration and Srlnou.vi slon   The Court           I


                                                                                                                      ;


    may irnpose a fine, costs ofincarceration and costs ofsupervision, The defendant agrees that                      1




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    any fine imposed by the Court will be due and payable immediately.
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                    g. Forfeiture: The defendant [<no wingly and voluntarily rvaives any right, title,                I




    and interest in all items seized by law enforcement officials during the course of their                          I
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     investigation, whether or not they are subject to forfeiturc, and agrees not to contest the vesting

     of title of such items in the United States. The defendant agrees tliat said items may be disposed

     ofby law enforcement officials in any manner.

             9. ACI(NOWLEDGMENT AND WAIVER. OF T}IE DEIENDANT'S RIGI{TS:

             In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

     rights, including but not limited to; the right to plead not guilty to the charges; the right to be

    tried by ajury in a public and speedy trial; the right to file pretrial motions, including motions to

    suppress or exolude evidence; the right at such trial to a presumption of innocence; the right to

    require the govemrnent to prove the elements ofthe offenses charged against the defendant

    beyond a reasonable doubt; the right uot to testift; the right not to present any evidence; the right

    to be protected frorn compelled self-incrimination; the right at trial to confront and cross-

    examine adverse witnesses; the right to testiry and present evidence and the right to compel tho

    attendance ofwitnesses. The defendant further understands that by this guilty plea, the

    defendant expressly waives all the rights set forth in this paragraph.

            The defendant fully understands that the defendant has the light to be represonted by

    counsel, and if necessary,lo have the Cout appoint counsel at trial and at every other stage of

    the proceeding. The defendant's counsel has explained these rights and the consequences ofthe

    waiver of these rights, The defendant fully understands that, as a result of the guilty plea, no trial
                                                                                                                 i
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    will, in fact, occur and tlrat the only action remaining to be taken in this case is the imposition of   I



   the sentence.                                                                                             I

                                                                                                             I

           The defendant is fully satisfied with the representation received fiom defenss counsel.           I

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   The defendant has reviewed the govemment's evidence and discussed the govemrnent's case and



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     all possible defenses and defense witnesses with defense counsel. Defense counsel has

     completely and satisfactorily explored all areas wlrich the defendant has requested relative lo tlrc

     govemment's case and any defenses.

            The guilty plea could impact defendant's ammigmtion status or result in deportation. In

    particular, ifany crirne to which defendant is pleading guilty is an "aggravated felony" as defined

    by Title 8, United States Code, Section 1101(a)(43), rernoval or deportation is presumed

    mandatory. Defense counsel has advised tlre defendant of the possible immigration

    consequencos, including deportation, resulting from the plea.

            rO. VOLU}.ITARY NATURE OF THD GUILTY PI-EA AND PLEA

    AGREI!MENT;

            This document constitutes the entire agreement between the defendant and the

    govemment, and no other promises or inducements have been made, directly or indirectly, by

    any agent ofthe govemment, including any Departnrent ofJustice attomey, conceming any plea

    to be entered in this case. In addition, the deferrdant states that no person has, directly or

    indirectly, tkeatened or coerced the defendant to do or refrain ftom doing anything in

    coffrection with any aspect ofthis case, including entering a plea ofguilty.
                                                                                                            ,
            The defendant acknowledges having voluntarily entered into both the plea agreement and

    the guilty plea. The defendant furthor acknowledges that this guilry plea is made of the

    defendant's own free will and that the defendant is, in fact, guilty.
                                                                                                            I


            11. CONSE    o UENCDS OF POST.PLEA MISCOIT]DLIC'I:                                              I

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           Afterpleading guilty and before sentenoing, ifdefendant commits any crime, other than            I
                                                                                                            I

   minor traffic offenses, violates any conditions ofrelesse that results in revocation, violates any       I
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     tennof;this guilty~plea agreemeri4 intentionally provides.misleading, incomplete or untruthful

     .information to the U.S, Probatfon Office or fails to appear for sentencing, the United States, at its

     option, rnay be released from Wrobligations under this agreement. The Government may ais·o, in

     its discreti~n, proceed with this agre¢1neilt and may advocate for: an.y sentencing position.

     supported by the facts, including but not limited to obstruction of justice and denial of

     acceptance ofresponsibility.

            12. NO RIGHT TO WITHDRAW GUILTY PLEA:

            Pursuant to Rule 11 (c) and {cl), Federal Rules of Criminal Procedure, the defendant

     understands that there will be no right to withdraw the plea entered under this agreement, except

    where the Court rejects those portions of the plea agreement which deal with charges the

    goverrunent agrees to dismiss or not to bring.



                                             C:=    PAlJLT~sA flf.36966MO)
                                                    Assistant United States· Attomey

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            Date




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